Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 1 of 16 PageID: 355


                                Amended Complaint




 Robert A. Bonavito-Pro Se
 1812 Front street
 Scotch Plains, NJ 07076
 908-322-7719
 robert@rabcpafirm.com
 Pro Se Plaintiff


                                                     Civil Action No. 3:20-cv-
                                                     14657-MAS-DEA
 Robert A. Bonavito,     Plaintiff,
                                                               Civil Action
                   v.
                                                              COMPLAINT
 President and Fellows of
 Harvard College,
 “Harvard University”, Connell Foley LLP ,
 John Doe

                         Defendant.




               Pro Se Plaintiff alleges and complains of the defendant as follows:


                                             The Parties
 1.     Plaintiff is an individual residing within Hunterdon County, the State of New Jersey.
 2.     Upon information and belief Defendant is a for profit business operating as a nonprofit
        corporation (in name only) that is registered in the State of Massachusetts. Some of the
                                                 1
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 2 of 16 PageID: 356


                                 Amended Complaint
         services and products offered by Defendant include educational classes, certificates,
         degrees, periodicals, research material, product licensing, vocational training, and career
         guidance services and support.


  3. Classes and other products were purchased, used and paid for in Hunterdon County, the
       State of New Jersey during the years 2017 through 2020 by Plaintiff.


  4. Connell Foley LLP, law firm in Roseland New Jersey


  5. John Doe, unknown




                                        Factual Background

 6.      Plaintiff started his first class at Harvard Extension School “HES” in the spring of 2017
         in Hunterdon County, the State of New Jersey, and plaintiff was issued student
         identification number 91288818-0.
 7.      As a student of HES, being able to apply and/or admittance to the various master’s
         programs was based on completing several prerequisite courses and passing the entrance
         exams.
 8.      As a student Plaintiff was also required to purchase many other products such as Harvard
         Case Studies and books for which HES would receive fees.
 9.      Plaintiff’s purpose of entering the program was to receive a Master of Liberal Arts,
         Management or Finance ALM degree “ALM”. Plaintiff met all requirements to be
         admitted into the program.
 10.     On the basis of their advertisements HES created a contract under which if Plaintiff
         passed the admittance exams and requirements Plaintiff would be allowed to apply and/or
         be admitted to the ALM program.
 11.     This contract required HES to comply with all their internal rules. HES violated
         Plaintiff’s contract by not complying with their own rules regarding treatment of students
         and evaluation of prior coursework.

                                                  2
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 3 of 16 PageID: 357


                               Amended Complaint
 12.   Once in the program, Plaintiff learned that there was a hidden policy that prevented
       plaintiff from applying and entering the program. This is clearly an unfair deceptive act
       and practice that HES willfully engaged in.
 13.   The policy states that if you have a master’s degree, you can only apply and be admitted
       if the current degree is “significantly different” than the one offered at Harvard. Plaintiff
       does have a Masters of Business Administration with a concentration in finance that was
       issued in 1992; the courses the Plaintiff would be taking for the HES ALM would be
       “significantly different” than the ones taken over 28 years ago.
 14.   The policy as enforced by HES resulted in a selection process that discriminated based on
       age and gender. Specifically excluding older males such as the Plaintiff.
 15.   After requesting that HES review Plaintiff’s transcripts from 1992, Plaintiff received an
       email stating that Plaintiff would not be qualified to apply or be admitted to the program
       based on the description of the courses. After emails and discussions with HES staff it
       became obvious that HES had no method or metrics in order to implement their own
       policy. This further compounded and added to the egregious deceptive acts and practices
       that HES inflicted on Plaintiff.
 16.   Many younger students with similar MBA’s, transcripts and degrees were allowed to
       apply and/or be admitted to ALM program in both finance and management. HES made
       written certification to Plaintiff that MBA holders were not allowed to apply to the ALM
       program. “… the only reason you are excluded is the fact you already hold an MBA –
       since all MBA holders are excluded …”
 17.   HES allowed students with prior MBA’s in finance to reapply to ALM Finance and
       Management programs while denying Plaintiff the ability to apply. Many of the students
       received emails that invited them to reapply and be admitted to the ALM programs. The
       Email’s stated “… an effort to keep student’s knowledge and skills relevant” and “set
       up an individual appointment” at the same time they denied the plaintiff with a 28 year
       old MBA the opportunity to apply.
 18.   Plaintiff’s attempts to understand why he was prevented from applying to ALM were met
       with complete disregard by HES and Harvard. This was a clear violation of the
       University’s Statement on Rights and Responsibilities.


                                                 3
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 4 of 16 PageID: 358


                                   Amended Complaint
 19.      Responses to Plaintiffs concerns were met with threats from Harvard’s Lawyers that
          stated, “…we will litigate past endurance…”
 20.      On December 14, 2020 Defendant’s counsel Connell Foley LLP, electronically filed
          Plaintiffs confidential. This personal information that was taken from secure records at
          Harvard University. This information was uploaded and disclosed to the general public
          utilizing the US District Courts electronic system.




                                            FIRST COUNT
                                          Consumer Fraud Act

 21.      The Plaintiff repeats all prior allegations and incorporates same herein as if set forth in
          full.
 22.      Upon information and belief Defendant operates within the State of New Jersey and
          presents itself as a properly and legally registered business.
 23.      Plaintiff and Defendant are “persons” within the intention of New Jersey’s Consumer
          Fraud Act, N.J.S.A., 56:8-1, et. seq.
 24.      The conduct of the Defendant with regard to Plaintiff was in violation of said Act.
 25.      Defendant, with the sole purpose of obtaining and deriving an unlawful and improper
          financial gain, knowingly, willfully and intentionally, maliciously, and/or with reckless
          disregard of the rights of Plaintiff;
                          a.      Misrepresented to Plaintiff that notwithstanding Plaintiffs’ the
          Plaintiff’s sole purpose for entering HES was to apply and/or receive the ALM degree.
                          b.      Plaintiff met all the criteria to apply and be admitted to the
          program but was inappropriately denied the ability to apply and/or be admitted.
                          c.      Misrepresented to Plaintiff including that they would properly
          evaluate his classes taken in 1992 in accordance with the rules and procedures that HES
          required.
       26. Defendant and its agents, by their conduct, actions, representation, misrepresentation,
          omissions, and failure to act, with an intent to achieve and obtain an undue and unlawful
          advantage over the Plaintiff, did in fact achieve and obtain an undue and unlawful


                                                     4
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 5 of 16 PageID: 359


                                   Amended Complaint
          advantage over the Plaintiff, and did unlawfully and fraudulently induce the Plaintiff into
          entering into said contract.
       27. Defendant’s conduct is an unconscionable commercial practice, deception, fraud, false
          pretense, false promise, and misrepresentation in violation of New Jersey’s Consumer
          Fraud Act, N.J.S.A., 56:8-1, et. seq.
       28. Defendant sent private emails to students with similar transcripts as the Plaintiff so that
          they could apply and be admitted to the ALM program in both finance and management.
       29. As a direct and proximate result of Defendants conduct, Plaintiff has suffered an
          ascertainable economic loss, past, present and future.
       30. Rather than properly investigate the Plaintiff’s concerns, HES’s response was “…we will
          litigate past endurance…”


 WHEREFORE Plaintiff demands judgment against Defendant in accordance with N.J.S.A.,
          56:8-1 et. seq. for damages, treble damages, statutory attorney’s fees, Pro Se fees and
          consulting fees, pre and post-judgment interest, costs of suit; and for such other relief to
          which Plaintiff may be entitled.


                                           SECOND COUNT
                                               Fraud

 31.     The Plaintiff repeats all prior allegations and incorporates same herein as if set forth in
          full.
 32. Defendant, with the sole purpose of deriving an unlawful and improper financial gain,
          knowingly, willfully, and intentionally, and/or with reckless disregard of the rights of
          Plaintiff;
                          a.      Misrepresented to Plaintiff that notwithstanding Plaintiff, the
          Plaintiff’s sole purpose for applying to and entering HES was to apply and/or receive the
          ALM degree.
                          b.      In appealing the decision not to properly review Plaintiff’s
          transcripts, Plaintiff brought this to the attention of various administrators who blatantly
          ignored Harvard’s and HES rules and ethics which state the following:

                                                    5
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 6 of 16 PageID: 360


                                   Amended Complaint
                         “Moreover, it is the responsibility of all members of the academic
         community to maintain an atmosphere in which violations of rights are unlikely to
         occur and to develop processes by which these rights are fully assured. In particular,
         it is the responsibility of officers of administration and instruction to be alert to the
         needs of the University community; to give full and fair hearing to reasoned
         expressions of grievances; and to respond promptly and in good faith to such
         expressions and to widely expressed needs for change. In making decisions which
         concern the community as a whole or any part of the community, officers are
         expected to consult with those affected by the decisions. Failures to meet these
         responsibilities may be profoundly damaging to the life of the University. Therefore,
         the University community has the right to establish orderly procedures consistent
         with imperatives of academic freedom to assess the policies and assure the
         responsibility of those whose decisions affect the life of the University.”
                 c.      Misrepresented to Plaintiff that Plaintiff would be entitled to apply and/or
 receive the ALM degree at HES once all the requirements were met.
                  d.     HES utilized age discrimination in denying Plaintiff admittance to the
 ALM program.
                 e.    HES’s actions constitute a clear violation of Title IX section 106.21
 admissions.
                 f.    Upon information and belief Defendant represented that it was able to offer
 online education programs within the state of New Jersey.
 33. HES told Plaintiff he could not enter or apply to the ALM program if he had a prior MBA, at
 the same time they were allowing other students with prior MBA’s to apply and/or be admitted
 into the ALM program. Plaintiff was sent a letter advising him the following “… the only reason
 you are excluded is the fact you already hold an MBA – since all MBA holders are excluded
 …”
 34. Such representations and statements were false and known to be false by the Defendant at the
      time they were made “You cannot already have or be in the process of earning a master's
      degree in management or related field.”
 35. Plaintiff reasonably relied upon the Defendants’ false representations and omissions.



                                                      6
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 7 of 16 PageID: 361


                                  Amended Complaint
 36. Defendant was aware that private emails were sent to invite specific students to apply to the
    ALM program who had similar transcripts as Plaintiff. The email stated the following “…an
    effort to keep student’s knowledge and skills relevant.” “set up an individual
    appointment””. The Plaintiff’s 28-year-old MBA was not considered outdated?
 37. Plaintiff was specifically denied access to apply to the ALM program.
 38. By reason of Defendants’ conduct, Plaintiff has suffered substantial economic damages.


 WHEREFORE Plaintiff demands judgment against Defendant in accordance with N.J.S.A.,
        56:8-1 et. seq. for damages, treble damages, statutory attorney’s fees, Pro Se fees and
        consulting fees, pre and post-judgment interest, costs of suit; and for such other relief to
        which plaintiff may be entitled.
                                          THIRD COUNT
                                    Negligent Misrepresentation

 39. The Plaintiff repeats all prior allegations and incorporates same herein as if set forth in full.
 40. Defendant owed Plaintiff a duty to ensure that its representations to plaintiff were accurate,
    and the HES rules and policies were to be completed promptly and in a workman like
    manner.
 41. The Defendant negligently:
                        a.      Misrepresented to Plaintiff that notwithstanding Plaintiff, the
        Plaintiff’s sole purpose for applying to and entering HES was to apply and/or receive the
        ALM degree.
                        b.      Misrepresented to Plaintiff that all students were held to the same
        criteria.
                        c.      Misrepresented to Plaintiff that HES would properly evaluate his
        1992 course work in accordance with HES school policy.
                        d.      Misrepresented to Plaintiff that he would be entitled to apply
        and/or receive the ALM degree.
 42. HES utilized age discrimination in denying Plaintiff admittance to the ALM program.
 43. HES’s actions constitute a clear violation of Title IX section 106.21 admissions.



                                                    7
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 8 of 16 PageID: 362


                                    Amended Complaint
       44. The Plaintiff reasonably relied upon the Defendant’s misrepresentations and
       omissions.
       45.         Defendant breached its duty to Plaintiff to ensure that its representations to
       Plaintiff were accurate, and the installation was completed promptly and in a workman
       like manner.
       46. As a direct and proximate cause of the defendants’ negligent misrepresentations and
       omissions, the Plaintiff was thereby induced to contract with Defendant and has suffered
       a substantial monetary loss in both time, fees and future earnings.


       WHEREFORE Plaintiff demands judgment against Defendant in accordance with
       N.J.S.A., 56:8-1 et. seq. for damages, treble damages, statutory attorney’s fees, Pro Se
       fees and consulting fees, pre and post-judgment interest, costs of suit; and for such other
       relief to which Plaintiff may be entitled.


                                                 FOURTH COUNT
                                                 Breach of Contract

             47.     The Plaintiff repeats all prior allegations and incorporates same herein as is if
             set forth in full.
             48.      The Defendant, without justification or excuse, has failed to satisfactorily
             perform all of their obligations under the terms and conditions of said contract with
             the Plaintiff.
             49. As a direct and proximate cause of the Defendants’ breach of contract, the
                   Plaintiff has suffered a substantial monetary loss.


                   WHEREFORE Plaintiff demands judgment against Defendant in accordance with
                   N.J.S.A., 56:8-1 et. seq. for damages, treble damages, statutory attorney’s fees,
                   Pro Se fees and consulting fees, pre and post-judgment interest, costs of suit; and
                   for such other relief to which plaintiff may be entitled.
                                                FIFTH COUNT
                    Breach of Implied Covenant/Contracts of Good Faith and Fair Dealing


                                                     8
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 9 of 16 PageID: 363


                                 Amended Complaint

        50. The Plaintiff repeats all prior allegations and incorporates same herein as if set forth
        in full.
        51. Implied in the terms of the contract is Defendant’s representation and warranty that
        Plaintiff was eligible to obtain the ALM degree at HES.
        52.Defendant breached its obligation by not properly implementing its own policies when
        reviewing Plaintiff’s transcripts.
        53. As a direct and proximate cause of the Defendants’ breach of contract, the Plaintiff
        has suffered a substantial monetary loss in the value of Plaintiffs’ future net worth and
        income.
        WHEREFORE Plaintiff demands judgment against Defendant in accordance with
        N.J.S.A., 56:8-1 et. seq. for damages, treble damages, statutory attorney’s fees, Pro Se
        fees and consulting fees, pre and post-judgment interest, costs of suit; and for such other
        relief to which plaintiff may be entitled.


                                               SIXTH COUNT
                                               Age Discrimination
                                        Age discrimination Act of 1975

 54. The plaintiff repeats all prior allegations and incorporate same herein as if set forth in full.
 55. Plaintiff is a 59-year-old male.
 56. Upon information and belief the US Department of Education, National Center for Education
 Statistics shows that HES utilized age discrimination in denying the Plaintiff the ability to apply
 and/or be admitted to the ALM program. This was brought to the attention of Division of
 Continuing Education Grievance Process “DOC Grievance Process”.
 57. ES allowed younger students with prior MBA’s to reapply to ALM programs while denying
    the Plaintiff the ability to apply. Many of the students received private emails that invited
    them to reapply and be admitted to ALM programs, emails stated “…an effort to keep
    students knowledge and skills relevant” and; “set up an individual appointment” at the
    same time they denied the Plaintiff with a 28 year old MBA the opportunity to apply.
 58.DOC’s website explains its mandate as follows:



                                                     9
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 10 of 16 PageID: 364


                                 Amended Complaint
        The Schools of Harvard University do not discriminate on the basis of sex, race, color,
        age, national origin, religion, sexual orientation, disability, veteran status, gender
        identity and expression, or other legally or policy protected status in the university's
        services, educational programs, and activities.
     59. Based on Plaintiffs discussions with ODR and the written policy of DOC Plaintiff would
        expect that Plaintiff’s age discrimination grievances would be fully investigated.
        Defendant refused to fully investigate any of the allegations, instead Plaintiff was ignored
        and lied to “… the only reason you are excluded is the fact you already hold an MBA –
        since all MBA holders are excluded….”


        WHEREFORE plaintiff demands judgment against defendant in accordance with Age
        discrimination Act of 1975 and N.J.S.A., 56:8-1 et. seq. for damages, treble damages,
        statutory attorney’s fees Pro Se fees and consulting fees, pre and post-judgment interest,
        costs of suit; and for such other relief to which plaintiff may be entitled.



                                                  SEVENTH COUNT
                                                 Gender Discrimination
                             Violations of Code of Federal Regulations Title 34, Title IX


     60. The Plaintiff repeats all prior allegations and incorporate same herein as if set forth in
        full.
     61. Plaintiff is a 59-year-old male that earned Masters of Business Administration degree in
        1992.
     62. The current act of gender discrimination occurred on August 20, 2020.
     63. Upon information and belief, the US Department of Education, National Center for
        Education Statistics shows that the HES criteria for applying to and/or being admitted
        into the ALM program discriminated based on Plaintiff’s gender.
     64. HES’s policy specifically targets male students that earned MBAs in 1992. HES’s
        policies were utilized by the Defendant in order to disallow the Plaintiff from applying to
        the ALM program.


                                                  10
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 11 of 16 PageID: 365


                                Amended Complaint
        65. HES denied Plaintiff ability to apply and/or be admitted to the program. This is a
           clear violation of Title IX section 106.21 admissions which states the following:

                           Section 106.21 Admission.

           a. General. No person shall, on the basis of sex, be denied admission, or be

               subjected to discrimination in admission, by any recipient to which this subpart

               applies, except as provided in §§106.16 and 106.17.

           b. Specific prohibitions. (1) In determining whether a person satisfies any policy or
               criterion for admission, or in making any offer of admission, a recipient to which

               this subpart applies shall not:

                       i. Give preference to one person over another on the basis of sex, by

                           ranking applicants separately on such basis, or otherwise.

                       ii. Apply numerical limitations upon the number or proportion of persons

                           of either sex who may be admitted; or

                              1. Otherwise treat one individual differently from another on the

                                  basis of sex.

                   i. (2) A recipient shall not administer or operate any test or other criterion

                       for admission which has a disproportionately adverse effect on persons on

                       the basis of sex unless the use of such test or criterion is shown to predict

                       validly success in the education program or activity in question and

                       alternative tests or criteria which do not have such a disproportionately

                       adverse effect are shown to be unavailable.

                        WHEREFORE Plaintiff demands judgment against Defendant in
                        accordance with Title 9 and N.J.S.A., 56:8-1 et. seq. for injunctive relief

                                                  11
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 12 of 16 PageID: 366


                                 Amended Complaint

                         and the university immediately cease gender discrimination and level the

                         playing field, damages, attorney’s fees, Pro Se fees and consulting fees,

                         pre and post-judgment interest, costs of suit; and for such other relief to

                         which plaintiff may be entitled.



                                                  EIGHTH COUNT
                                      Disclosure of Confidential Information
                             Privacy Act (FERPA) (20 U.S.C. § 1232g; 34 CFR Part 99)
       66. The Plaintiff repeats all prior allegations and incorporate same herein as if set
                                               forth in full.

     67. On December 14, 2020 Defendant’s counsel electronically filed Plaintiffs

        confidential. This personal information that was taken from secure records at

        Harvard University. This information was uploaded and disclosed to the general

        public utilizing the US District Courts electronic system.

     68. Upon information and belief, the disclosure of this information violated multiple

        federal, state and Laws and regulations including the Family Educational Rights

        and Privacy Act (FERPA) (20 U.S.C. § 1232g; 34 CFR Part 99). FERPA is the

        Federal law that protects the privacy of student education records.




        WHEREFORE Plaintiff demands judgment against Defendant in accordance with

        Title 9 and N.J.S.A., 56:8-1 et. seq. for injunctive relief and the university

        immediately cease gender discrimination and level the playing field, damages,

        attorney’s fees, Pro Se fees and consulting fees, pre and post-judgment interest,

        costs of suit; and for such other relief to which plaintiff may be entitled.


                                                  12
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 13 of 16 PageID: 367


                                 Amended Complaint


                                                Relief


  Financial injury, multimillion-dollar claim will be based on the following:


  1.     Partial lost future income/net worth, “but for damages”
  2.     Reimbursement of partial expenses
  3.     Personal time spent in the program based on the ability to apply and/or earn a degree that
         was wrongfully denied
          Injunction legal equitable remedy, specific performance
  4.     All current and past Harvard University and ALM finance and management candidates or
         degree students who had prior MBA’s or similar type education, that were admitted based
         on age or gender discrimination have degrees immediately revoked.
  or
  5.     For Plaintiff’s immediate admission to the HES’s ALM program in management or
         finance.
  6.     For all completed, current courses or enrolled courses to be immediately evaluated and,
  7.     Receive a determination as to what if any course requirements remain to graduate and for
         such an evaluation to be undertaken by an admissions advisor.

                                                 JURY DEMAND

                 Plaintiff hereby demands a trial by jury.



                 DESIGNATION OF TRIAL COUNSEL PURSUANT TO R. 4:5-1 (c)

                 Robert A. Bonavito is hereby designated as trial Pro Se counsel for the Plaintiff.




                                                         Robert A. Bonavito Pro Se
                                                         1818 Front Street
                                                         Scotch Plains, NJ 07076
                                                         908-322-7719
                                                  13
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 14 of 16 PageID: 368


                           Amended Complaint
                                            robert@rabcpafirm.com


                                            By: _________________________________
                                              Robert A. Bonavito
  Dated: January 4, 2021




                                       14
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 15 of 16 PageID: 369


                                 Amended Complaint
                           CERTIFICATION PURSUANT TO R.4:5-1

                 I hereby certify that to the best of my belief, the matter in controversy is not the

  subject of any action pending in any court or arbitration proceeding and that no other action or

  arbitration is contemplated.


                                                       ____________________________________
                                                        Robert A. Bonavito
  Dated: January 4, 2021




                                                  15
Case 3:20-cv-14657-MAS-DEA Document 17-3 Filed 01/04/21 Page 16 of 16 PageID: 370


                                Amended Complaint
                      CERTIFICATION PURSUANT TO N.J.S.A. 56:8-20

                I hereby certify that the Plaintiff mailed a copy of this Complaint to the Attorney

  General of the State of New Jersey on August 10, 2010, to the following address:


                Office of the Attorney General
                PO Box 080
                Trenton, NJ 08625-0080


                                                      ____________________________________
                                                       Robert A. Bonavito
  Dated: January 4, 2021




                                                 16
